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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


                 DEFENDANTS’ MOTION IN LIMINE NO. 2 TO
    EXCLUDE EVIDENCE OR ARGUMENT AS TO OTHER BUZZFEED REPORTING
               AND INCORPORATED MEMORANDUM OF LAW

            Defendants BuzzFeed, Inc. and Ben Smith (the “Defendants”) hereby move the Court in
  limine for an order excluding from voir dire, opening statements, evidence, and closing
  arguments all references to BuzzFeed reporting other than that related to publication of the
  article in suit. Such evidence would be inadmissible pursuant to Federal Rules of Evidence 401,
  402, and 403.
                                     PRELIMINARY STATEMENT
            During the course of discovery, Plaintiffs questioned BuzzFeed Editor-in-Chief Ben
  Smith about other BuzzFeed stories published by BuzzFeed other than those at issue here. In
  particular, Plaintiffs have asked questions concerning two articles related to the so-called Sh***y
  Media Men list. Testimony or references to these articles are inadmissible because the reporting
  is not at issue in this case, and the articles have no bearing on the statements the Plaintiffs
  challenge as false and defamatory in this action. Even if the articles are marginally relevant
  (which they are not), they should be excluded under Rule 403 because their limited probative
  value is substantially outweighed by the dangers of unfair prejudice, undue delay, confusion, and
  jury misdirection.




                                                    1
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                                                ARGUMENT
           Rule 401 defines relevant evidence as that which tends to make a fact of consequence
  more or less probable than it would be without the evidence, and in this libel suit, relevant
  evidence is any evidence which tends to prove the truth or falsity of the allegations asserted in
  the Article in suit or which tends to establish the requisite degree of fault. This Court should
  issue an order prohibiting Plaintiffs from referencing any BuzzFeed reporting other than the
  article at issue here because they have no bearing on whether the Dossier republished by
  BuzzFeed contained false and defamatory statements, or whether Defendants published the
  Article with the requisite degree of fault.
           First, Plaintiffs have not challenged statements in different articles published by
  BuzzFeed and, therefore, those articles have no bearing on the statements at issue here. See, e.g.,
  Chapman v. Journal Concepts, Inc., 401 F. App’x 243, 245 (9th Cir. 2010) (“district court did
  not abuse its discretion by excluding evidence” regarding libel defendant’s investigation “for an
  article that was not at issue in the trial” which was “likely to confuse the jury”); Tavoulareas v.
  Piro, 93 F.R.D. 35, 44 (D.D.C. 1981) (holding complaints and lawsuits against defendant over
  articles not at issue in case to be irrelevant). Moreover, BuzzFeed’s publication of other articles
  is entirely irrelevant to a determination of whether Defendants published the Article in suit with
  the requisite degree of fault. The existence or non-existence of constitutional malice must be
  determined as of the date of publication – and not based on any other publication conduct. N.Y.
  Times Co. v. Sullivan, 376 U.S. 254, 286 (1964) (malice must be shown “at the time of the
  publication”); Bose Corp. v. Consumers Union of U.S., Inc., 466 U.S. 485, 512 (1984) (evidence
  must establish that the defendant “realized the inaccuracy at the time of publication”). The
  negligence standard similarly looks to defendant’s alleged negligence at “the time of
  publication.” Brooks v. ABC, Inc., 999 F.2d 167, 172 (6th Cir. 1993) (citation omitted). Post-
  publication events simply have no impact or relevance to the fault determination in a libel case.
  See Secord v. Cockburn, 747 F. Supp. 779, 792 (D.D.C. 1990) (post-publication events have no
  impact on actual malice determination); McFarlane v. Esquire Magazine, No. CIV. 92-0711
  TAF, 1994 WL 510088, at *13 (D.D.C. June 8, 1994) (“The existence or non-existence of actual
  malice must be determined as of the date of publication.”), aff’d, 74 F.3d 1296 (D.C. Cir. 1996).
  Accordingly, Plaintiffs should not be allowed to rely on any reporting for articles other than that
  at issue here


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            This is particularly so as it relates to articles that Plaintiffs identified at the deposition of
  Ben Smith and have listed as trial exhibits. Those articles, entitled “What To Do With ‘Sh***y
  Media Men’?,” Ex. 1 (Plaintiffs’ trial exhibit J7),1 and “Moira Donegan Says She Is The Woman
  Who Created the ‘Sh***y Media Men,’” Ex. 2 (Plaintiffs’ trial exhibit J8), and relate to
  BuzzFeed’s decision not to publish a list of “Sh***y Media Men.” Plaintiffs apparently intend
  to use these articles as Trial Exhibits to somehow compare the decision to publish the Dossier
  with the decision not to publish the list of media men. But evidence related to the Media Men
  story has nothing to do with what Plaintiffs must prove to prevail in this action. It obviously has
  nothing to do with the truth or falsity of the alleged defamatory statements, and, as discussed
  above, because Defendants’ state of mind is judged at the time of publication as it relates to the
  Article at issue, a comparison of why BuzzFeed made the decision to publish one story and not
  the other is not probative of anything “of consequence” to the issues that must be determined by
  the jury. For these reasons, evidence relating to articles other than the one at issue in the
  Complaint is inadmissible, and the Court should prevent Plaintiffs from introducing, or even
  referencing them. Fed. R. Evid. 401 and 402.
            Second, under Rule 403, the Court “may exclude relevant evidence if its probative value
  is substantially outweighed by a danger of one or more of the following: unfair prejudice,
  confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
  cumulative evidence.” Fed. R. Evid. 403. The rule readily applies here, and further requires that
  the Court exclude the articles, even if they have some probative value. See Schafer v. Time, Inc.,
  142 F.3d 1361, 1372‒74 (11th Cir. 1998) (upholding district court’s decision to exclude, under
  Fed. R. Evid. 403, memorandum discussing number of charges that sources in story were
  unreliable but not discussing photograph attached to story, the subject of plaintiff’s libel claims).
            At Mr. Smith’s deposition, Plaintiff’s counsel asked Mr. Smith, “[i]sn’t the reason you
  didn’t publish the [Sh***y Media Men] list because it contained names of BuzzFeed reporters
  and it contained names of your colleagues and friends in the media?” Ex. 3 at 163:8-12. While
  Mr. Smith responded “No” to that question, it is clear that Plaintiffs intend to use these articles to
  prejudice the jury against Mr. Smith and BuzzFeed in some way. The Court should exclude such
  evidence because Mr. Smith’s reasons for deciding not to publish the Media Men list are in no
  way probative of his decision to publish the Dossier.

  1
      Plaintiffs identified these exhibits in Exhibit A to the Joint Pretrial Stipulation, Dkt. 237.

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           Consequently, the dangers that admission of the articles will unduly prejudice or confuse
  the jury far outweigh their probative value, and therefore the articles should be excluded under
  Rule 403.
                                           CONCLUSION
           For the foregoing reasons, the Court should preclude Plaintiffs from introducing
  evidence, testimony, or argument relating to any BuzzFeed articles other than those at issue here,
  including but not limited to the “Media Men” articles.


  Dated: October 29, 2018                  Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 29th day of October, 2018.



                                                  By: /s/ Adam Lazier
                                                          Adam Lazier




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                              EXHIBIT 1
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s/8/2018                                                      \M)at    With




   BuzzFeed           Quizzes         Tasty


   What To Do With Shitty Media Men ?
   A document circulating late Wednesday named and shamed dozens                       men in media for bad behavior toward
   women.
   Posted on October 12, 2017. at 1:48 a.m.


            Doree Shafrir
            BuzzFeed News Reporter




                                                                                          «*'•




             I

   Erie Baradat              Images



   On Wednesday afternoon, received an email from a friend, a woman writer, that had been forwarded from another
   woman, also a writer. The body of the email contained an anonymous Google spreadsheet labeled "SHITTY MEDIA
   MEN." On the top, it said, DISCLAIMER; This document is only a collection                 misconduct allegations and rumors.
   Take everything with a grain               salt. If you see something about a man you're friends with, don't freak out. Men
   accused        physical sexual violence by multiple women are highlighted in red.” saw some               the names and
   thought; fucking finally. Finally, the grossest men in media will be exposed.

   The allegations on the spreadsheet range from “flirting" and “weird lunch dates" to accusations                rape, assault,




                                                                                                                     -tr
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2/8/2018                                                    What To Do With “Shitty Media Men”

   particularly vulnerable women, that they are not in power.

   But things do get complicated'when you start lumping                          behavior together in a big anonymous
   spreadsheet of-unsubstarrtiated allegations against'dozens                  named men — who were not given the chance to
   respond — that; byWednesday night; seemed to have spread far and wide; At various points on Wednesday;
   dozens       anonymous accountswere looking at thespreadsheet.                                         because    the           the
   documentwas structured-^it meantthat anyone-could'iook at it, download and-share it, and'so there was no-wayto
   know      they-were airthe-intended female-recipients. Severalmen who-were                       the spreadsheet had reached out
   to other staffers at BuzzFeed-News because they-had seen-it.

   As The Nation contributor Collier Meyerson tweeted earlier on Wednesday, There is a difference between serial
   sexual assaulters, harassers, rapists and dogs. There are tons                 both in media. In the coming days, as aggregated
   lists    men are created, ’s important to distinguish who are dogs and who are sexual assaulters.” Does a
   spreadsheet        this size and breadth         allegations accomplish its goal, which is presumably to warn women about
   predators? I'm not totally sure, but the fact          the spreadsheet's existence is itself a feature        this new social media
   age, of email hacks and document leaks, and a time when things that had                         been whispered about are put into
   digital form, and shared, and take on a life           their own.

   Tve never been assaulted or harassed by someone Iworked'with, and it's onlybeen lately that I've realized how
   messed up it is           feelfortunate that's the case. There have been a few uncomfortable incidents for me
   personally, like the editor who Gchatted me late at night, seeminglydrunk, and propositioned me, or the art
   director who was way too interested in my intern-experience and-put his hand-on my thigh-at a-party; But people-
   whispered- about the guys who were rea//y bad, the ones who coerced young women- into sex, the-ones who-were
   physically abusive; The-ones to-stay away from-.

   But     course, not everyone gets the memo right away. Especially                 you're young, or a woman       color, or
   unconnected. Then you had to find out for yourself And since media, like Hollywood, has historically been an
   industry built on networking and connections, it's not surprising that powerless women have not felt like it was in
   their best interest to try to take down the powerful — particularly since the consequences almost never outweigh
   the price that women pay for coming forward. Our motives are suspect, our reputations are maligned, our
   victimhood called into question.

   So it's no coincidence that the spreadsheet emerged in the wake                    the allegations against Harvey Weinstein, and
   the women coming forward — more and more every day — to say me foo. Media has long protected its own; the
   thing that'stuck           me, and sickened me, the most on the list was the men about whom                       been written
    rumored sealed settlement.” Because most                those men are still working in media, you- see. Theirreputations did
   not precede them. Or, more depressingly; maybe they did; and-it didn't matter.

   When the Weinstein accusations came out, a common refrain on social media was that men who had themselves
   been accused         sexual harassment or who everyone knew” were sleazy had no right to be tweeting about how
   despicable Weinstein is. The hypocrisy             performative allyship has been well documented. But what               the
   hypocrisy       media organizations themselves?

   The accused work at some             the most well-known places in the industry, including the New York Times, the Wall
   Street Journal; the New Yorker, Mother Jones, and BuzzFeed; These are places that have written about the
   Weinstein allegations, and other sexual harassment allegations ih tech and other industries. What                       their




https;//www.buzzfeed.com/doreeAvhat-to-do-with-shitty-media-men?utni_teiTn=.rjJxb8pOZ#.ebempnxDr                                         2/6
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2/8/2018                                                    What To Do With “Shitty Media Men”
    UPDATE
   October              at 7:32

                  has




      Doree Shafrir is a senior tech writer for BuzzFeed News and is based in Los Angeles.
      Contact Doree Shafrir at doree@buzzfeed:com.

      Got a confidential tip? Submit it here.




           Your                                                                                   Sign up




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https://wvwv.buzzfeed.com/doree/what-to-do-with-shitty-media-men?utm_tenn=.rjJxb8pOZ#.ebempnxDr             3/6
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                              EXHIBIT 2
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2/8/2018                                   Moira Donegan Says She   The Woman Who Created The Shitty Media Men


                                         7?;^
   BuzzFeed          Quizzes            Tasty      More ^


   Moira Donegan Says She Is The Woman Who Created The "Shitty Media Men"
   List
   The crowdsourced, viral spreadsheet accused at least 70 men in the industry of sexual misconduct, some of
   whom resigned or were fired after being investigated.
   Originally posted on January      2018, at   a.m.
   Updated on January     2018, at       p.m.



            BuzzFeed News Reporter




                          Share

https://www.buzzfeed.com/tasneemnashrulla/shitty-media-men-list-creator?utm_term .hqP3pDXVY#.bo9wOXz3M
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2/8/2018                               Moira Donegan Says She Is The Woman Who Created The "Shitty Media Men" List




   Dane Vernon Via Twitter: igiMbiraDonegan


   Moira Donegan, a former assistant editor at the New Republic, revealed Wednesday that she created the "Shitty
   Media Men" list, a controversial online document that crowdsourced anonymous rumors and allegations
   sexual misconduct against at least 70 men in the media and publishing industries.


   In a lengthy first-person essay for the Cut, Donegan, 28, said she created the spreadsheet in October so that
   women could privately share their stories              harassment "without being needlessly discredited or                   and
   where they could warn each other about men who they perceived as abusers and harassers.

   In. her essay, Donegan-emphasized.the importance of. "whisper networks" — private, informal-alliances-where
   women can. share "open-secrets-and-warn, women-away from-serial-assaulters."

   Within a few hours, the document was widely shared among women who anonymously added names                                 men
   and listed accusations against them, ranging from being rude in meetings to making inappropriate remarks to
   rape.

   Donegan said she added a disdaiiner                 the document asking readers to "take everything with a grain            salt,"
   amid'concern about the veracity             some       the claims.

   Several-male BuzzFeed. employees.were among, those.named, on.the.list. .BuzzFeed-.News-spokesperson,.Matt
   .Mittenthal.said.the companyconducted.an.investigation.into.the allegations. "At the time, two.individuals.on.tha
   list.had. already left the. company or. been, dismissed,, and. since, then,, an. additional, employee has-been.
   dismissed," .hasaid.."We. take, these.issues. very, seriously.and.are.committed.to. ensuring.that.BuzzFeed-remains.
   a..place. where, everyone-is. treated, respectfully."

   Donegan wrote that she took the document offline Just 12 hours after creating it, when she learned that
   BuzzFeed News was going to report on its existence. But by then, the list had already gone viral. Several
   screenshots were circulated and the document itself was posted on Reddit.

   By the time she           it down, Donegan said, the list contained names              more than 70 men ranging in age from
   their twenties to their sixties. Fourteen           those names were highlighted in red to denote that they had been
   accused       sexual'assault or rape by more than one woman.

   Despite, criticism.that.the.document.was irresponsible, and.vulnerable.to false. claims„orthat.it.lumped together, a
   wide range       allegations,, some men who appeared on the list.resigned or were fired after their companies
   investigated claims..

   While acknowledging the problem with unsubstantiated allegations, Donegan wrote, "It's impossible to deny the
   extent and severity        the sexual-harassment problem in media              you believe even a quarter         the claims that
   were made on the spreadsheet."

   Donegan said that                 document was exposed; she lost her friends and her job. However, she did not
   elaborate on the circumstances                       her losing her       In a statement       BuzzFeed News; The New
                                          .1   _____      __________ _____




https:/Avww.buzzfeed.com/tasneemnashrulla/shitty-media-men-list-creator?umi_term=.hqP3pDXVY#.bo9wOXz3M
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2/8/2018                              Moira Donegan Says She    The Woman       Created The       Media Men"


   Donegan did not respond to BuzzFeed News' request for comment




                        Moira Donegan
                        OMoiraDonegan


               October, made a google document. My
           life has been strange and sometimes
           frightening ever since. wrote about for
           OTheCut.
                                                                    m   d




                started the Media Men List
               My name Moira Donegan.
               rhecuM/,;;:


           10:16           10 Jan 2018

   Twitter ^oiraDonegan



   Donegan wrote that she lived in fear of being exposed and the inevitable harassment that would follow.

   She said her fear grew after rumors spread online that writer Katie Roiphe was planning to expose her identity in
   a forthcoming piece for Harper's magazine.




https://www.buzzfeed.com/tasneemnashrulla/shitty-media-men-list-creator?utm_tenn=.hqP3pDXVY#.bo9wOXz3M
   Case 0:17-cv-60426-UU Document 273-2 Entered on FLSD Docket 10/29/2018 Page 5 of 8
2/8/2018                              Moira Donegan Says She Is The Woman Who Created The "Shitty Media Men” List
   fact checker for Harper's told her that Roiphe had identified her as the woman "widely believed to be one                      the
   creators      the Shitty Men in Media List."

   Hours before Donegan oufed'herself as the list’s creator, Roiphe told the New York Times that she did not know
   the creator's identity and'would "never" identify them            they didn't want        be named Roiphe did not respond to
   BuzzFeed'News' request for comment.

   A.Twitter campaign,.led. by editors and, writers,, also sought.to pressure. Harper's not.to reveal, the. identity             the.
   list's creator, to.protect.her. from,.potential.threats and.harassment..

   "The outrage made it seem inevitable that my identity would be exposed even before the Roiphe piece ran,"
   Donegan wrote. "All         this was terrifying. still don’ know what kind           future awaits me now that I’ve stopped
   hiding."

   A newly-created Twitter account that appeared to belong to Roiphe, put out two tweets on Wednesday,
    addressing the criticism directed at her. In one               tweets that was retweeted byHarper's official account;
    Roiphe said that after Donegan refused to speak to her, she used a fact checker to test the premise that
   Donegan "might                claim responsibility for the list;"

   She added that the list was a "very small part"            her piece and that the question            who created it "was not in
   any way important to the piece."




https:/Awww.buz2feed.com/tasneemnashrulla/shitty-media-men-list-creator?utm_term=.hqP3pDXVY#.bo9wOX23M
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2/8/2018                              Moira Donegan Says She    The Woman Who Created The         Media Men"
   After Donegan's essay was published, many women, including those in media, hailed her as hero and applauded
   her bravery in going public with her story.




    Twitter: @chrissahardy




    Twitter @iainnafader



   Some noted the impact that Donegan's list had in getting men fired after the allegations contained in the list
   were investigated.




https://www.buzzfeed.com/tasneemnashrulla/shitty-media-men-list-creator?utm_temi=.hqP3pDXVY#.bo9wOXz3M
   Case 0:17-cv-60426-UU Document 273-2 Entered on FLSD Docket 10/29/2018 Page 7 of 8
2/8/2018                              Moira Oonegan Says She Is The Woman Who Created The "Shitty Media Men" List




    Twitter:



   Other women said that they wished similar spreadsheets had been created decades ago.




   Twitter <&Allsa6298



   Even those who were critical of the list praised Donegan for her intent and attempt to provide transparency.




https://www.buzzfeed.com/tasneemnashnjlla/shitty-media-men-list-creator?utm_term=.hqP3pDXVY#.bo9wOXz3M
   Case 0:17-cv-60426-UU Document 273-2 Entered on FLSD Docket 10/29/2018 Page 8 of 8
2/8/2018                              Moira Donegan Says She Is The Woman Who Created The "Shitty Media Men" List




    Twitter S>Regula_Aurea


   What To Do With “Shitty Media Men”
   buzzfeed.com



   UPDATE
   January    2018, at       p.m.

   This story has been updated to include comment from                 BuzzFeed News spokesperson about the company's
   investigation into the claims against BuzzFeed employees.




      Tasneem Nashrulla is a reporter for BuzzFeed News and is based in New York.
      Contact Tasneem Nashrulla-at tasneem:nashrulla@buzzfeed:com.

      Got a confidential tip? Submit it here.




           Your email address                                                                                   Sign up




https://www.buzzfeed.com/tasneemnashrulla/shitty-media-men-list-creator?utm_temi=.hqP3pDXVY#.bo9wOX23M
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                              EXHIBIT 3
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      BENJAMIN SMITH· Confidential                             February 08, 2018
      GUBAREV vs BUZZFEED                                                      1

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·2· · · ·IN THE UNITED STATES DISTRICT COURT

·3· · · · · · SOUTHERN DISTRICT OF FLORIDA

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·5·   · ALEKSEJ GUBAREV, XBT HOLDING· ·)Case No.
· ·   · S.A., AND WEBZILLA, INC.,· · · )17-CV-60426-
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· ·   · · · · · · · Plaintiffs,· · · · )
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· ·   · · · · · ·vs.· · · · · · · · · ·)
·8·   · · · · · · · · · · · · · · · · ·)
· ·   · BUZZFEED, INC. AND BEN· · · · ·)
·9·   · SMITH,· · · · · · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · · ·)
10·   · · · · · · · Defendants.· · · · )
· ·   ·--------------------------------)
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13· · · · · · ·DEPOSITION OF BENJAMIN SMITH

14· · · · · · · · · New York, New York

15· · · · · · ·Thursday, February 8, 2018

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24· ·Reported by:
· · ·TAMI H. TAKAHASHI, RPR, CSR
25· ·JOB NO. J1400363


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
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     BENJAMIN SMITH· Confidential                              February 08, 2018
     GUBAREV vs BUZZFEED                                                       2

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·2· · · · · · · · · · · ·February 8, 2018
·3· · · · · · · · · · · ·9:37 a.m.
·4
·5· · · · · · Deposition of BEN SMITH, held at
·6· ·the offices of Davis Wright Tremaine LLP,
·7· ·1251 Avenue of the Americas, New York,
·8· ·New York, pursuant to Notice, before TAMI H.
·9· ·TAKAHASHI, a Registered Professional Reporter
10· ·and Notary Public of the State of New York.
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·1· · · · · · · · CONFIDENTIAL - Smith
·2· ·is that correct?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·And you reported extensively in not
·5· ·just one but two articles on this list,
·6· ·correct?
·7· · · · A.· ·Yes.
·8· · · · Q.· ·Isn't the reason that you didn't
·9· ·publish the list because it contained names
10· ·of BuzzFeed reporters and it contained names
11· ·of your colleagues and friends in the media?
12· · · · A.· ·No.
13· · · · · · ·(Continued on next page to include
14· · · · jurat.)
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·1
·2· · · · · · · ·C E R T I F I C A T E
·3· ·STATE OF NEW YORK· · )
·4· · · · · · · · · · · · : ss.
·5· ·COUNTY OF NEW YORK· ·)
·6
·7· · · · · · ·I, TAMI H. TAKAHASHI, a Notary
·8· · · · Public within and for the State of New
·9· · · · York, do hereby certify:
10· · · · · · ·That BENJAMIN SMITH, the witness
11· · · · whose deposition is hereinbefore set
12· · · · forth, was duly sworn by me and that
13· · · · such deposition is a true record of the
14· · · · testimony given by the witness.
15· · · · · · ·I further certify that I am not
16· · · · related to any of the parties to this
17· · · · action by blood or marriage, and that I
18· · · · am in no way interested in the outcome
19· · · · of this matter.
20· · · · · · ·IN WITNESS WHEREOF, I have hereunto
21· · · · set my hand this 13th day of February
22· · · · 2018.
23
24· · · · · · · · · · · ·_____________________
25· · · · · · · · · · · ·TAMI H. TAKAHASHI


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